Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24   Page 1 of 13 PageID #:
                                  <pageID>


                                                                              1

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

         - - - - - - - - - - - - - - -X
       UNITED STATES OF AMERICA,   : 23-CR-197(JS)
                                   :
                                   :
                                   :
                                   : United States Courthouse
          -against-                : Central Islip, New York
                                   :
                                   :
                                   :
                                   : Tuesday, December 12, 2023
       GEORGE DEVOLDER SANTOS,     : 10:30 A.M.
                                   :
                Defendant.         :
                                   :
                                   :
         - - - - - - - - - - - - - - -X

                       TRANSCRIPT OF STATUS CONFERENCE
                  BEFORE THE HONORABLE JUDGE JOANNA SEYBERT

                                A P P E A R A N C E S:

       For the Government:       UNITED STATES ATTORNEY'S OFFICE
                                 Eastern District of New York
                                 600 Federal Plaza
                                 Central Islip, New York 11772
                                 BY: ANTHONY BAGNOLA, ESQ.
                                    Assistant United States Attorney

       For the Defendant:        JOSEPH W. MURRAY
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                                 Great Neck, New York 11021
                                 BY: JOSEPH W. MURRAY, ESQ.


         Official Court Reporter: ToniAnn Lucatorto, RMR, CRR, RPR
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         Proceedings recorded by computerized stenography.
         Transcript produced by Computer-aided Transcription.




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Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24   Page 2 of 13 PageID #:
                                  <pageID>
                                   Status Conference
                                                                              2

   1                  (In open court.)

   2                  (JUDGE JOANNA SEYBERT enters the courtroom.)

   3                  COURTROOM DEPUTY:    All rise.

   4                  THE COURT:    Please be seated.

   5                  THE COURTROOM DEPUTY:     Calling criminal case

   6     23-CR-197.    United States of America versus George Santos.

   7                  Counsel, please state your appearances for the

   8     record, beginning with the Government.

   9                  MR. STEINER:    Good morning, your Honor. Jacob

  10     Steiner for the United States.        From the Department of

  11     Justice, Department of Public Integrity section.           I'm

  12     joined by Ryan Harris from the EDNY, John Taddei from the

  13     Public Integrity Section, and Laura Zuckerwise and Anthony

  14     Bagnola from the EDNY.

  15                  MR. MURRAY:    Good morning, your Honor.       Joseph

  16     Murray on behalf of George Santos sitting next to me.

  17                  THE COURT:    Good morning to you all.      This is a

  18     status conference.      I recently received a letter from the

  19     Government requesting an earlier trial date, but we'll get

  20     to that in a moment.

  21                  Is there anything that you would like to advise

  22     the Court?     I realize there has been four productions of

  23     various materials, discovery items.        They were outlined in

  24     the letter.    And that and an additional request to move

  25     the trial from September to June.        And I'll hear Mr.


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                              Official Court Reporter
Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24   Page 3 of 13 PageID #:
                                  <pageID>
                                   Status Conference
                                                                              3

   1     Murray on that issue in a moment.

   2                  Is there anything the Government would like to

   3     put on the record regarding status at this point?

   4                  MR. STEINER:    Your Honor, the Government and the

   5     defendant have been engaged in plea negotiations.            We

   6     expect those to continue.       Your Honor, other than the

   7     trial date, we also ask the Court to set a motion schedule

   8     and a pretrial schedule for a trial.          If the Court would

   9     please set another status conference roughly 30 days out

  10     for the parties to check in on those issues.

  11                  THE COURT:    The motion schedule seems a bit

  12     vigorous, I would say.       You're looking to start motion

  13     practice in January when you have a firm trial date in

  14     September, maybe slightly earlier.        I obviously wouldn't

  15     get to it.

  16                  Mr.   Murray, would you like to be heard on the

  17     trial date or discovery issues?

  18                  MR. MURRAY:    I would, your Honor.     And I want to

  19     thank the Government.       We've been working wonderfully

  20     together in sharing this material.        The one thing I think

  21     the Court needs to be aware of to help you guide you in

  22     your decision whether or not to move the trial date is the

  23     voluminous amount of materials that we've had to go work

  24     through.    On top of which, Judge, if I could go through

  25     them real quick.      The fourth production is today.        We're


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Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24    Page 4 of 13 PageID #:
                                  <pageID>
                                   Status Conference
                                                                               4

   1     going to get that fourth production and in comparison to

   2     the others, it's about 12,000, somewhere around there.

   3                  THE COURT:    12,000 pages?

   4                  MR. MURRAY:    Pages.   I just want to go through

   5     the productions Judge.       The first one was June 6th.        You

   6     may recall we adjourned for the summer.           It was 86,674

   7     pages.    Then on September 6th, three months later, they

   8     gave us 194,112 pages.       The total being 280,786.       We've

   9     been struggling to go through all of that material.             The

  10     third production came less than two months later, we had

  11     to work on -- October 27th our last court date, they

  12     handed us a drive and on that was 1,018,814 pages of

  13     material.    But more importantly, Judge, of that 1 million,

  14     815,348 were deemed sensitive.        Which means I can only

  15     view them with my client, I can't give it to him to review

  16     on his own.

  17                  I then brought this to the attention of the

  18     Government when they said they wanted to advance the trial

  19     date.    And right away they reduced that, reclassified it

  20     to confidential.      To alleviate that burden.       But it's

  21     still a million more documents that we have to go though.

  22     So the total as of October 27th, Judge, was 1,299,600.

  23     With the documents that we received today, it will be

  24     1,312,210.    I ask the Court to please I understand the

  25     Government has an interest to push this trial date, but


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Case 2:23-cr-00197-JS-AYS    Document 68-1 Filed 04/17/24   Page 5 of 13 PageID #:
                                   <pageID>
                                  Status Conference
                                                                                5

   1     there's a lot of material, a lot of various different

   2     charges that we have to review.         We are actively in

   3     negotiating with them.       I'd really like to put my efforts

   4     into that so that possibly we come to a resolution.              But

   5     if I have a January motion date and a May trial date, I

   6     really have the gun to my head about what to prioritize.

   7     So I ask the Court to consider that we'd like to keep the

   8     September trial date.       I think it's premature to go

   9     forward with that pre trial schedule, particularly the

  10     motion date of January 19th.        We're asking for 30 days to

  11     come back, Judge.       I think we have been having productive

  12     communications.      I think this could be fruitful if we

  13     could focus on that.       So that's my request to the Court.

  14                 THE COURT:     Thank you Mr. Murray.

  15                 Any response from the Government?

  16                 MR. STEINER:     I think Mr. Murray has the general

  17     page counts correct with respect to discovery.            I just

  18     want to note a few things.        One is that the Government

  19     producing discovery on June 27th, it's almost six months

  20     ago already.       So since then, we made three additional

  21     productions.       I'll point out that the September 1st

  22     production, that constituted 344,000 records.            About

  23     140,000 of those records were returns from 2703(e) orders

  24     those are non-content returns.         That contain things like

  25     the to, from, date and subject line of e-mails.            So --


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                              Official Court Reporter
Case 2:23-cr-00197-JS-AYS    Document 68-1 Filed 04/17/24     Page 6 of 13 PageID #:
                                   <pageID>
                                  Status Conference
                                                                                 6

   1                 THE COURT:     Can you narrow it down in terms of

   2     saying generally what the Government does on any cases.

   3     They will say we'll focus on these documents and then give

   4     them the heads up.       I mean, 1.3 million, you know you have

   5     a lot of duplication in there.

   6                 MR. STEINER:     Absolutely, your Honor, and

   7     absolutely is why we disclosed these materials in the

   8     abundance of caution.       The Government is more than happy

   9     to provide the defendant with assistance in terms of

  10     identifying key documents, in terms of identifying the

  11     types in documents they're looking at.             In addition to the

  12     140,000 orders that I think are of limited evidentiary

  13     value, another extremely large group of evidence has been

  14     turned over.       Again in the interest of caution, was

  15     approximately 700,000 records, about 800,000 pages, from

  16     the co-defendant's cell phone.         That was a mirror image of

  17     the cell phone, which means that contained 10, if not

  18     hundreds of thousands of records that are --

  19                 THE COURT:     Unrelated, correct?

  20                 MR. STEINER:     Correct. Whether they're personal

  21     items or related to business items.

  22                 THE COURT:     But you know how to star the ones

  23     that are not important.        But that would not only aid in

  24     trial preparations, but any other negotiations you're

  25     having back and forth.


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                              Official Court Reporter
Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24    Page 7 of 13 PageID #:
                                  <pageID>
                                  Status Conference
                                                                                7

   1                 Have you had a proffer session yet with the

   2     defendant, defense counsel, and the Government?             Or

   3     that's not happening?

   4                 MR. STEINER:    We have not have a formal proffer

   5     session, your Honor, although we have negotiations with

   6     defense counsel and we have certainly begun to share some

   7     of the key documents that we think explain our case.             And

   8     we are happy to, again, assist with defense counsel

   9     identifying on the key records that narrow the universe sp

  10     that defense counsel can prepare and also to help expedite

  11     the trial schedule we've asked for.

  12                 The other thing I want to point out, your Honor,

  13     with respect to the motion schedule.         Of course we would

  14     defer to the Court's judgment as the appropriate motion

  15     schedule.    I will note, however, that the opening motions,

  16     motions to dismiss, motions to suppress, motions to sever,

  17     those --

  18                 THE COURT:    Those will be quickly decided.          I

  19     get that.    But to have motions begin nine months before

  20     the trial is likely to happen seems a bit lengthy to me.

  21     What I would suggest is, perhaps, in view of the fact that

  22     you have five government attorneys, Mr.           Murray, did you

  23     ever get an associate to assist you?

  24                 MR. MURRAY:    Your Honor, we have another firm

  25     that my client is familiar with and used in the past.


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                              Official Court Reporter
Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24   Page 8 of 13 PageID #:
                                  <pageID>
                                   Status Conference
                                                                              8

   1     They we haven't been formally engaged yet, but they have

   2     agreed to work with us and are ready to take on the case.

   3                  THE COURT:    I might have an opening as early as

   4     April for a trial schedule.       But I know that there are

   5     older cases and frankly, I don't think I've seen a case in

   6     the last 20 years that the indictment is rendered and a

   7     trial occurred with discovery and everything else much

   8     sooner than a year.       And especially when you have a

   9     document heavy case such as this.        But I agree with you;

  10     preliminary motions, we can probably do those starting in

  11     April.    They're not going to take very long from what

  12     you're telling me.      The type of motion that's being made.

  13     To dismiss the indictment and that.        So I can render a

  14     decision pretty quickly on that and any motion to serve or

  15     rather to suppress.

  16                  MR. STEINER:    Understood, your Honor.      And I

  17     think the important thing to note about those types of

  18     motions is they're not motions that require a full summary

  19     review of the discovery.       The motions can be made largely

  20     based on the face of the search warrant admitted into

  21     evidences.    Certainly resolving those early will help the

  22     parties sharpen the issues prior to trial.          For example;

  23     if a motion to sever would be granted, it would trial

  24     strategy, maybe result in multiple trials.          So having

  25     those motions resolved earlier rather than later will


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Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24   Page 9 of 13 PageID #:
                                  <pageID>
                                  Status Conference
                                                                               9

   1     allow the parties and the Court to prepare more for trial.

   2                 THE COURT:    But it will also detract, to some

   3     extent, on the ability to engage in plea negotiations.

   4     But I agree with you.      I can decide those quickly.        April,

   5     unless I get a real early trial date that opens up.            I

   6     will be more than willing to do it.        But the cases I have

   7     on my docket, as you all know, are as a result of Covid

   8     and just the volume of cases and the judges who are not

   9     necessarily assigned to the courthouse has grown.            So what

  10     I suggest we do is you have additional argument you want

  11     to make, I'm open to hearing it.        But at this point, it

  12     looks like September is going to be the earliest.            And we

  13     don't the have the issue of the defendant having to go to

  14     Washington on a regular basis.

  15                 So the Government has a clear team in place and

  16     defendant needs a little bit of time to engage the other

  17     defense firm.      I would think.

  18                 MR. STEINER:    Understood, your Honor.       The only

  19     comparison I wanted to draw was United States V Barrack

  20     which was tried in the Eastern District of New York in

  21     September of 2022.      That case went to trial approximately

  22     one year and 2 months after the indictment.          So it would

  23     be a slightly faster pace than this case.          It also,

  24     involved multiple co-defendants and large amounts of

  25     discovery and classified information procedures.           So I


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                              Official Court Reporter
Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24   Page 10 of 13 PageID
                                 #: <pageID>
                                 Status Conference
                                                                            10

   1     think it would be more complex than this case and went to

   2     trial a little bit faster.      Just as a comparison, your

   3     Honor but that's --

   4                THE COURT:     That's one out of many.      Generally

   5     the indictment is rendered well before a year passes and

   6     the trial commences.

   7                MR. STEINER:     Understood, your Honor.      Thank

   8     you.

   9                THE COURT:     And the defendant is not in custody.

 10      So that's one issue the Court considers.          And while it

 11      might not be the most complex case in the world, it

 12      appears that you will have two individuals; perhaps they

 13      may testify, previously haven't taken pleas, I don't

 14      know..   And I don't get involved in plea negotiations so

 15      obviously we will move this as expeditiously as possible.

 16                 MR. STEINER:     Thank you, your Honor.      I

 17      appreciate it.

 18                 THE COURT:     Anything that you would like to add,

 19      Mr. Murray?

 20                 MR. MURRAY:     Your Honor, I just want to clarify

 21      something, and I mean this with all due respect.            The cell

 22      phone material that they were talking about, the 800 plus

 23      thousand, that's what they deemed to be sensitive.

 24      They're now telling you that it's, you know, essentially

 25      irrelevant.    But they deemed it to be sensitive when they


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                              Official Court Reporter
Case 2:23-cr-00197-JS-AYS    Document 68-1 Filed 04/17/24   Page 11 of 13 PageID
                                  #: <pageID>
                                  Status Conference
                                                                             11

   1     turned it over on October 27th.        It was like listed as

   2     number 20 on the list of material that's in there.            And

   3     when I got to it, I can't review it unless my client is in

   4     my presence.       When I went to them about it, I said look

   5     you guys deemed this arge, massive material sensitive, can

   6     we change that?      They did change it immediately.       But I

   7     just want the Court to know because they're saying it's

   8     essentially cell phone irrelevant material.          I agree with

   9     a lot of what I saw so far that it is irrelevant; it's

 10      pictures of family and, you know, like cell phone stuff.

 11      But it was deemed sensitive and that really delayed us in

 12      reviewing it.      And that's why I'm asking for this time to

 13      keep it at the September trial date.

 14                 THE COURT:      Well, September is a long way off.

 15      It's only December now.       So things open up.     Obviously

 16      I'll move it up.      But at this point in view of my schedule

 17      and the need to review the discovery materials, you will

 18      have to get other people on board, Mr. Murray, because the

 19      Government is entitled to a speedy trial also.

 20                 MR. MURRAY:      I agree.

 21                 THE COURT:      Anything else that the Court should

 22      be aware of before we set another status date in the new

 23      year?

 24                 MR. MURRAY:      Can I just speak with counsel?

 25                 THE COURT:      Sure.


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                              Official Court Reporter
Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24   Page 12 of 13 PageID
                                 #: <pageID>
                                   Status Conference
                                                                           12

   1                  MR. STEINER:    Your Honor, can the parties

   2     approach for a sidebar?       We have one issue defense counsel

   3     wanted to clarify with you.

   4                  THE COURT:    Sidebar on the record to the side?

   5     Absolutely essential?       I do everything on the record.

   6                  MR. STEINER:    Your Honor, I apologize for the

   7     delay.   Defense counsel and I, we just wanted to clarify

   8     one point I made earlier.       Is that in response to your

   9     question about whether the parties engaged in a proffer

 10      session, my response was that we have not in saying that I

 11      meant that we have not engaged in a reverse proffer, which

 12      the Government presented it's evidence in its case of the

 13      defendant.    So I wanted to be clear that is what I meant

 14      when I said we did not engage in such a session.          I think

 15      did that answer your question?

 16                   THE COURT:    Yes, it does.   And also, you have

 17      started preliminary discussions on a plea; is that

 18      correct?

 19                   MR. STEINER:    Thank you.

 20                   THE COURT:    Okay, thank you.   So let's put it on

 21      for a status date unless there's nothing else.

 22                   MR. STEINER:    Your Honor, I just wanted to check

 23      whether the Court wanted to enter a pretrial.

 24                   THE COURT:    No, I'll do it at the next

 25      conference because you'll have a much better idea and


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                              Official Court Reporter
Case 2:23-cr-00197-JS-AYS   Document 68-1 Filed 04/17/24   Page 13 of 13 PageID
                                 #: <pageID>
                                 Status Conference
                                                                           13

   1     there should be substantial progress made, Mr. Murray, on

   2     reviewing discovery materials.       And of course any

   3     discussions, your relationship with the Government seems

   4     to be a fruitful one in terms of discussions and

   5     understanding of the case on both sides.

   6                MR. MURRAY:     I 100 percent agree.      When I

   7     presented them with this issue, they immediately

   8     reclassified it.     So thank you.

   9                THE COURT:     All right.    Let's get a January

 10      status date or early February.

 11                 THE COURTROOM DEPUTY:       Counsel, January 23,

 12      10:30.

 13                 MR. STEINER:     That works, your Honor.      Thank

 14      you.

 15                 MR. MURRAY:     That's good for the defendant.

 16                 THE COURT:     Have a good holiday everyone.

 17      Something else?

 18                 MR. STEINER:     Your Honor, the Government just

 19      requests to exclude time from today.

 20                 THE COURT:     Absolutely.    It's obvious under the

 21      Speedy Trial Act that the defendant is requesting this

 22      delay.   The Government appears to be ready to go forward

 23      once motions are completed.       And in the interest of

 24      justice, the time is excluded.

 25                 (Proceeding concluded.)


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